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UNITED STATES DISTRICT COURT j DOC

SOUTHERN DISTRICT OF NEW YORK

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JOSEPH DAVIS, STIPULATION AND
ORDER OF
Plaintiff, SETTLEMENT AND

DISCONTINUANCE
-against-

04-CV-7276 (SHS)
THE CITY OF NEW YORK, P.O. JAMES

LAMENDOLA, P.O. IAN BRANNON, and P.O.’s
JOHN and JANE DOE #1-10, individually and in their
official capacities, (the names John and Jane Doe being
ficititious, as the true namcs are presently unknown),

Defendants.

WHEREAS, plaintiff commenced this action by filing a complaint on or about
September 13, 2004, alleging that defendants violated his federal civil and state common law
nights; and

WHEREAS, defendants have denied any and all liability ansing out of plaintiff's
allegations; and

WHEREAS, the parties now desire to resolve the issues raised in this litigation,
without further proceedings and without admitting any fault or liability;

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
and between the undersigned, as follows:

1. The above-referenced action is hereby dismissed with prejudice, and
without costs, expenscs, or fees in excess of the amount specified in paragraph “2” below.

2. Defendant City of New York hcreby agrees to pay plaintiff Joseph Davis

the total sum of TWELVE THOUSAND DOLLARS ($12,000) in full satisfaction of all claims,

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including claims for costs, expenses and attorney fees. In consideration for the payment of this
sum, plaintiff agrecs to the dismissal of all the claims against the City of New York and to
release the individually named defendants James Lamendola and [an Brannon and any present or
former employees or agents of the New York City Police Department and the City of New York,
from any and all liability, claims, or nghts of action arising from and contained in the complaint
in this action, including claims for costs, expenses and attorney fees.

3, Plaintiff shall execute and deliver to defendants’ attorney all documents
necessary to effect this settlement, including, without limitation, a release based on the terms of
paragraph “2” above and an Affidavit Concerning Liens.

4, Plaintiff has no outstanding tax obligations and/or judgments owed to the
City of New York. The New York City Department of Social Services has agreed not to assert
any liens it may have against the proceeds of this settlement.

5, Nothing contained herein shall be deemed to be an admission by any of
the defendants that they have in any manner or way violated plaintiff's nights, or the rights of any
other person or entity, as defined in the constitutions, statutes, ordinances, rules or regulations of
the United States, the State of New York, or the City of New York or any other miles, regulations
or bylaws of any department or subdivision of the City of New York. This stipulation and
settlement shall not be admissible tn, nor is it related to, any other litigation or settlement
negotiations.

6. Nothing contained herein shall be deemed to constitute a policy or practice
of the City of New York.

7. This Stipulation and Order contains all the terms and conditions agreed
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upon by the parties hereto, and no oral agreement entered into at any time nor any wntten
agreement entered into prior to the execution of this Stipulation and Order regarding the subject

matter of the instant proceeding shall be deemed to exist, or to bind the parties hereto, or to vary

the terms and conditions contained herein.

Dated: New York, New York

 

Dec. ll - , 2005
Rose M. Weber, Esq. MICHAEL A. CARDOZO
Attomey for Plaintiff Corporation Counsel of the
225 Broadway, Suite 1608 City of New York
New York, N.Y. 10007 Attomey for Defendants
(212) 748-3355 100 Church Street

New York, N.Y. 10007
(212) 788-0869

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Rose M. Weber (RW 05'S ) fr an M. Smith (JS 7186)

/ Assistant Corporation Counsel
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